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                            IN THE UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF GEORGIA
                                      ATLANTA DIVISION

             RILEY GRAHAM,                            :    MOTION TO VACATE
                 Movant,                              :    28 U.S.C. § 2255
                                                      :
                   v.                                 :    CRIMINAL INDICTMENT NO.
                                                      :    1:05-CR-0269-TWT-JFK-9
             UNITED STATES OF AMERICA,                :
                 Respondent.                          :    CIVIL FILE NO.
                                                      :    1:12-CV-2208-TWT-JFK
                                                      :

                                    MAGISTRATE JUDGE’S FINAL
                                  REPORT AND RECOMMENDATION

                   Movant has filed a 28 U.S.C. § 2255 motion to vacate, set aside, or correct his

             federal sentence entered in this Court under the above criminal docket number. The

             matter is before the Court on the § 2255 motion, (Doc. 1775), and the government’s

             answer-response, (Doc. 1796).1 For reasons discussed below, Movant’s motion to

             vacate is due to be denied.




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                    The Court allowed Movant until March 1, 2013, in which to file a reply. (Doc.
             1819). As of March 13, 2013, Movant has not replied.



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             I.    Background

                   The grand jury sitting in the Northern District of Georgia charged Movant,

             Phillip Hill, and others, in a mortgage fraud scheme. (Doc. 702).

                   From 2000 to 2003 Hill and his associates scooped out of the market
                   almost $22 million in illicit gain. They did it by fraudulently obtaining
                   over 300 mortgage-backed loans for buyers who used the loans to
                   purchase Atlanta-area houses and condominiums from Hill and his
                   associates at more than market value. Almost all of those loans, totaling
                   $110 million, went into default causing lenders and guarantors to be
                   stung with over $38 million in losses. Innocent homeowners in
                   neighborhoods that were hit with foreclosures and distorted property
                   values caused by the scheme also felt the pain . . . .

             United States v. Hill, 643 F.3d 807, 819 (11th Cir. 2011), cert. denied, _ U.S. _, 132

             S. Ct. 1988 (2012); see also United States v. Graham, 643 F.3d 885, 887 n.1 (11th Cir.

             2011) (stating that Hill, 643 F.3d 807, addresses consolidated appeal for Movant’s co-

             defendants). The jury found Movant guilty on all of the offenses charged against him

             in the third superseding indictment – conspiracy to commit mail and wire fraud, make

             false credit applications, launder money, and engage in monetary transactions in

             property derived from specified unlawful activity; wire fraud; mail fraud; engaging in

             monetary transactions in property derived from specified unlawful activity; and money

             laundering. Graham, 643 F.3d at 887-88. The Court sentenced Movant to a total term




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             of 120 months of imprisonment. (Doc. 1633). Movant appealed.2 (See Doc. 1641).

             On June 14, 2011, the Eleventh Circuit Court of Appeals affirmed the judgment against

             Movant. Graham, 643 F.3d at 899.

                   Movant now seeks collateral relief. (Doc. No. 1775). Movant asserts the

             following four grounds for relief. Counsel’s assistance was ineffective because he

             never researched Movant’s assertion that he had the right not to stand trial on the

             indictment, which “charged a series of crimes that are not authorized by the statutes

             cited[.]” (Doc. 1775 at 5). The government charged Movant with a non-existent

             conspiracy, and the jury was instructed that if it found Movant guilty of fictional

             charges, it could find he committed acts committed by others. (Id. at 6). The trial

             court gave improper jury instructions that allowed the jury to “mix[ and] match[]” guilt

             on substantive versus conspiracy money-laundering charges. (Id. at 8). The trial court

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                    On appeal, Movant raised the following claims:

                   (1) his right to counsel and due process rights were violated because the
                   district court denied his request for a continuance on the first day of trial;
                   (2) his due process rights were violated because he appeared before the
                   jury in an orange jail suit instead of in street clothes; and (3) his right to
                   a fair trial was violated because the district court admitted “expert”
                   testimony by lay witness William Key, a former closing attorney who had
                   pleaded guilty to participating in fraudulent mortgage transactions.

             Graham, 643 F.3d at 888.

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             constructively amended the indictment so that Movant was not convicted of the same

             crimes for which he was indicted. (Id. at 9). The government responds that Movant’s

             claim of ineffective assistance of counsel is contradicted by the indictment and that his

             remaining claims are procedurally barred from review. (Doc. 1796 at 5, 7-8).

             II.   28 U.S.C. § 2255 Standard

                   Section 2255 of Title 28 allows a district court to vacate, set aside, or correct a

             federal sentence that was imposed in violation of the Constitution or laws of the United

             States or was imposed by a court without jurisdiction, exceeds the maximum sentence

             authorized by law, or is otherwise subject to collateral attack. 28 U.S.C. § 2255.

             Collateral relief, however, is limited, and “[o]nce [a] defendant’s chance to appeal has

             been waived or exhausted, . . . we are entitled to presume he stands fairly and finally

             convicted[.]” United States v. Frady, 456 U.S. 152, 164 (1982). A “final judgment

             commands respect[, and] . . . a collateral challenge may not do service for an appeal.”

             Id. at 165. Thus, a defendant “must assert all available claims on direct appeal,” Lynn

             v. United States, 365 F.3d 1225, 1232 (11th Cir. 2004), and claims that a § 2255

             movant could have asserted on direct appeal, but did not, generally are procedurally

             barred absent (1) a showing of cause for the default and actual prejudice or (2) a

             showing of a fundamental miscarriage of justice or actual innocence, McKay v. United

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             States, 657 F.3d 1190, 1196 (11th Cir. 2011), cert. denied, _ U.S. _, 133 S. Ct. 112

             (2012).3 Section 2255 relief “is reserved for transgressions of constitutional rights and

             for that narrow compass of other injury that could not have been raised in direct appeal

             and would, if condoned, result in a complete miscarriage of justice.” Lynn, 365 F.3d

             at 1232 (quoting Richards v. United States, 837 F.2d 965, 966 (11th Cir. 1988))

             (internal quotation marks omitted); see also Massaro v. United States, 538 U.S. 500,

             505-09 (2003) (holding that a constitutional claim of ineffective assistance of counsel

             generally is properly raised on collateral review in order to allow for adequate

             development and presentation of relevant facts).


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                     “[T]o show cause for procedural default, [a movant] must show that some
             objective factor external to the defense prevented [him] or his counsel from raising his
             claims on direct appeal . . . ” or that the matter was not raised because of ineffective
             assistance of counsel. Lynn, 365 F.3d at 1235; see also Reece v. United States, 119
             F.3d 1462, 1468 (11th Cir. 1997) (holding that, absent an “objective factor external to
             the defense” as cause, the movant must show that the default was caused by ineffective
             assistance of counsel (quoting Murray v. Carrier, 477 U.S. 478, 488 (1986)) (internal
             quotation marks omitted)). If a petitioner shows cause, he also must show prejudice
             – that the error complained of “worked to his actual and substantial disadvantage,
             infecting his entire trial with error of constitutional dimensions.” Reece, 119 F.3d at
             1467 (emphasis in original) (quoting Frady, 456 U.S. at 170) (internal quotation marks
             omitted). To make a credible showing of actual innocence, “a movant ‘must show that
             it is more likely than not that no reasonable juror would have found [him] guilty
             beyond a reasonable doubt’ in light of . . . new evidence of innocence.” McKay, 657
             F.3d at 1196 (alteration in original) (quoting Schlup v. Delo, 513 U.S. 298, 327
             (1995)).

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                    On collateral review, the defendant is no longer presumed innocent, the

             conviction is presumed valid, and it is the petitioner’s burden to establish his right to

             relief. See Dist. Attorney’s Office for Third Judicial Dist. v. Osborne, 557 U.S. 52, 68-

             69 (2009) (citing Herrera v. Collins, 506 U.S. 390, 399 (1993)); Mackey v. United

             States, 221 F. App’x 907, 910 (11th Cir. 2007) (stating that § 2255 movants have the

             “burden of establishing their right to relief from the judgment against them”).

                    “An evidentiary hearing is not required when ‘the motion and the files and

             records of the case conclusively show that the prisoner is entitled to no relief.’”

             Gordon v. United States, 518 F.3d 1291, 1301 (11th Cir. 2008) (quoting § 2255). That

             is the case here, as shown in the discussion below.

             III.   Discussion

                    A.    Ground One

                    Movant’s ground one – that counsel was ineffective because he never researched

             Movant’s assertion that he had the right not to stand trial on the indictment, which

             “charged a series of crimes that are not authorized by the statutes cited” – fails under

             the Strickland standard. A criminal defendant possesses a Sixth Amendment right to

             “reasonably effective” legal assistance. Strickland v. Washington, 466 U.S. 668, 687

             (1984). To show constitutionally ineffective assistance of counsel, a petitioner must

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             establish that (1) counsel’s representation was deficient and (2) counsel’s deficient

             representation prejudiced him. Id. at 690-92. The Court may resolve an ineffective

             assistance claim based on either of the above prongs. Bottoson v. Moore, 234 F.3d

             526, 532 (11th Cir. 2000). Under the first prong, a petitioner must show that “in light

             of all the circumstances, the identified acts or omissions were outside the wide range

             of professionally competent assistance.” Strickland, 466 U.S. at 690. Under the

             second prong, a petitioner “must show that there is a reasonable probability that, but

             for counsel’s unprofessional errors, the result of the proceeding would have been

             different. A reasonable probability is a probability sufficient to undermine confidence

             in the outcome.” Id. at 694. The habeas petitioner has the burden of affirmatively

             proving prejudice, and a “conceivable effect” on the proceedings does not show

             prejudice. Wood v. Allen, 542 F.3d 1281, 1309 (11th Cir. 2008) (quoting Strickland,

             466 U.S. at 693) (internal quotation marks omitted). The petitioner has the burden of

             establishing his claim by a preponderance of competent evidence. Chandler v. United

             States, 218 F.3d 1305, 1313 (11th Cir. 2000) (en banc).

                   Movant’s ground one fails because he has not established prejudice by a

             preponderance of competent evidence. Movant presents to this Court nothing concrete

             to support his bald assertion that the charges against him were not authorized by the

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             statutes cited, and it is not the government’s burden or the Court’s responsibility to

             review the indictment and expound on whether and how the charges are authorized by

             the statutes cited. The Court cannot conclude that there is any reasonable probability

             that additional research by counsel would have turned up anything other than what

             Movant has presented to the Court – a bald assertion that the charges against him were

             not authorized by the statutes cited. Had counsel presented at trial or to the Eleventh

             Circuit Court of Appeals the unsupported assertion that Movant now presents, there

             is no reasonable probability that Movant would have been excused from standing trial.

                    B.     Grounds Two through Four

                    Movant’s grounds two through four – pertaining to a non-existent conspiracy,

             jury instructions, and constructive amendment of the indictment – are procedurally

             defaulted because Movant could have raised them on direct appeal and did not. See

             McKay, 657 F.3d at 1196; Lynn, 365 F.3d at 1232-33. Movant provides nothing to

             overcome his default, and his grounds two through four are not further reviewed.

             IV.    Certificate of Appealability (COA)

                    Pursuant to Rule 11 of the Rules Governing § 2255 Cases, “[t]he district court

             must issue or deny a certificate of appealability when it enters a final order adverse to

             the applicant. . . . If the court issues a certificate, the court must state the specific issue

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             or issues that satisfy the showing required by 28 U.S.C. § 2253(c)(2).” Section

             2253(c)(2) states that a certificate of appealability may issue “only if the applicant has

             made a substantial showing of the denial of a constitutional right.” To satisfy that

             standard, a movant must demonstrate that “reasonable jurists could debate whether (or,

             for that matter, agree that) the petition should have been resolved in a different manner

             or that the issues presented were adequate to deserve encouragement to proceed

             further.” Lott v. Attorney Gen., 594 F.3d 1296, 1301 (11th Cir. 2010) (quoting

             Miller-El v. Cockrell, 537 U.S. 322, 336 (2003)) (internal quotation marks omitted).

                   “When the district court denies a habeas petition on procedural grounds
                   without reaching the prisoner’s underlying constitutional claim,” . . . a
                   certificate of appealability should issue only when the prisoner shows
                   both “that jurists of reason would find it debatable whether the petition
                   states a valid claim of the denial of a constitutional right and that jurists
                   of reason would find it debatable whether the district court was correct in
                   its procedural ruling.”

             Jimenez v. Quarterman, 555 U.S. 113, 118 n.3 (2009) (quoting Slack v. McDaniel, 529

             U.S. 473, 484 (2000)).

                   It is recommended that a COA is unwarranted based on the above discussion.

             If the Court adopts this recommendation and denies a COA, Movant is advised that he

             “may not appeal the denial but may seek a certificate from the court of appeals under




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             Federal Rule of Appellate Procedure 22.” Rule 11(a), Rules Governing Section 2255

             Proceedings for the United States District Courts.

             V.    Conclusion

                   For the reasons stated above,

                   IT IS RECOMMENDED that Movant’s motion, (Doc. 1775), to vacate, set

             aside, or correct his federal sentence be DENIED, and that a COA be DENIED.

                   The Clerk of Court is DIRECTED to withdraw the referral of this § 2255

             motion to the undersigned Magistrate Judge.

                   IT IS SO RECOMMENDED and DIRECTED this 20th day of March, 2013.




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